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                                STATEMENT OF FACTS
                            DEBRA J. MAIMONE—REDACTED

        Your affiant, Mark Brundage is a Special Agent assigned to the Washington Field Office
of the Federal Bureau of Investigation and has been employed by the FBI since 2016. Currently, I
am assigned to a squad that investigates Counterterrorism matters within the FBI’s Washington
Field Office. As part of that assignment, I have been tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 PM, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 PM, members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 PM. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 6, 2021, at approximately 2:30 PM (EST), a Parler social media account
registered to Debra J. MAIMONE—posted a video. In that video, the videographer—a separately
charged individual later identified as Philip C. VOGEL, II (AKA Flip)—panned the camera around
the Capitol crypt, showing MAIMONE and other individuals. As the camera arrived on
MAIMONE’s face, she removed her distinctive American flag mask and stated, in sum and
substance: IT’S AMAZING. The unseen VOGEL admonished MAIMONE, stating in sum and
substance: PUT YOUR MASK ON. I DON’T WANT THEM TO SEE YOU. Below are two
screenshots of MAIMONE in the Capitol crypt from MAIMONE’s Parler video.




      Below are two screenshots from U.S. Capitol CCTV footage showing VOGEL and
MAIMONE together interacting and walking together inside of the U.S. Capitol on January 6,
2021.
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       At approximately 2:38 PM, CCTV video shows VOGEL and MAIMONE near a group of
individuals who are pushing through law enforcement and forcing open a door. A screenshot from
CCTV is shown below.




       At approximately 2:43 PM, CCTV video shows MAIMONE putting personal protective
equipment, namely a gas mask, into VOGEL’s backpack. MAIMONE subsequently helps a
separate protester put a gas mask in his backpack and then gives him a thumbs up. Three
screenshots from that segment of CCTV video are shown below.
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        At approximately 2:47 PM, CCTV video shows VOGEL and MAIMONE picking up a bag
clearly marked POLICE, rummaging through it, and taking silver packages from the POLICE bag.
CCTV video also shows MAIMONE and VOGEL carrying silver packages. According to U.S.
Capitol Police, the silver packages contain escape hoods, which are a form of personal protective
equipment (PPE) designed to protect the wearer from chemical agents, biological agents, nuclear
or radiological particles and toxic industrial chemicals for a short period of time. The silver
packages depicted in the CCTV footage were procured by the US Senate Sergeant-at-Arms for
emergency use by people authorized to be in the Capitol for work or permitted visit. Neither
MAIMONE nor VOGEL had permission to take possession of the escape hoods from the POLICE
bag. Three screenshots from that segment of CCTV video are shown below.
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       MAIMONE and VOGEL are known associates outside of the Capitol riots. They are listed
as Owner (MAIMONE) and President (VOGEL) of the business known as
                                        . The top two images below are taken from the
MAIMONE and VOGEL’s business’ yelp.com page, and the bottom image is taken from their
business website’s CONTACT US page—                                          .
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       On January 6, 2021, at approximately 10:28 PM (EST), MAIMONE’s Parler account—
username TrumpIsYourPresident1776—engaged in the following dialogue with another Parler
user:

                 Parler User:     So you were illegally occupying a government building.

TrumpIsYourPresident1776:         I’m not saying that you stupid couch potato. I’m saying I was at
                                  the government building FULL OF TYRANTS and I
                                  WATCHED A TON of patriots that were fed up with being shot
                                  at flash banged and gassed for trying to peacefully protest! AND
                                  THEY TOOK THE CAPITAL THAT IS THE HOME OF THE
                                  PEOPLE AND PAYED [sic] FOR BY THE PEOPLE!

                  Parler User: The FBI digital team will be arresting all who illegally entered
                               the DC Capital. It carries a 10 year prison sentence FYI. �

TrumpIsYourPresident1776:         Lmao yaaaaaaaaaa sure thing buddy! Good thing I wasn’t in
                                  there. Although I support all the Americans that did their duty
                                  that day! We’ll see how many ten year sentences are handed
                                  down to those that were in there! Smh now I’ll let you get back
                                  to watching your cnn!

       The FBI has tied MAIMONE to this email account because when signing up for the
account, the user gave                             as her email address, TRUMP2020 as her
name, and                    as her phone number. The email address and phone number match
with the email address and number that MAIMONE lists for herself on her business’ website and
business card.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
DEBRA J. MAIMONE, violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that DEBRA J. MAIMONE,
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
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conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that DEBRA J. MAIMONE,
violated 18 U.S.C. § 641, which makes it a crime for a person to embezzle, steal, purloin, or
knowingly convert to his use or the use of another, or without authority, sell, convey or dispose of
any record, voucher, money, or thing of value of the United States or of any department or agency
thereof, or any property made or being made under contract for the United States or any department
or agency thereof; or receive, conceal, or retain the same with intent to convert it to his use or gain,
knowing it to have been embezzled, stolen, purloined or converted.




                                                       _________________________________
                                                       MARK BRUNDAGE
                                                       SPECIAL AGENT
                                                       FEDERAL BUREAU OF INVESTIGATION

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of March 2021.
                                                                        Digitally signed by G. Michael
                                                                        Harvey
                                                                        Date: 2021.03.12 18:03:40
                                                       ___________________________________
                                                                        -05'00'

                                                       G. MICHAEL HARVEY
                                                       U.S. MAGISTRATE JUDGE
